            Case 1:20-cv-10974-IT Document 9 Filed 08/24/20 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

DMITRIY ZUBOV, individually and               *
on behalf of all others similarly situated,   *
                                              *
               Plaintiff,                     *
                                              *
       v.                                     *
                                              *             Civil Action No.1:20-cv-10974-IT
RADIUS GLOBAL SOLUTIONS, LLC,                 *
                                              *
               Defendant.                     *

                                         Scheduling Order
                                          August 24, 2020
TALWANI, D.J.

       This Scheduling Order is intended to provide a reasonable timetable for discovery and
motion practice in order to help ensure a fair and just resolution of this matter without undue
expense or delay.

                            Timetable for Discovery and Motion Practice

        Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and Local Rule 16.1(f), it
is hereby ORDERED that:

1.     Initial Disclosures. Initial disclosures required by Fed. R. Civ. P. 26(a)(1) and by this
       court’s Notice of Scheduling Conference must be completed by August 31, 2020.

2.     Amendments to Pleadings. Except for good cause shown, no motions seeking leave to
       add new parties or to amend the pleadings to assert new claims or defenses may be filed
       after December 31, 2020.

3.     Fact Discovery – Interim Deadlines.
       a.     All requests for production of documents and interrogatories must be served by
              October 1, 2020.
       b.     All requests for admission must be served by October 1, 2020.
       c.     All depositions, other than expert depositions, must be completed by March 21,
              2021.

4.     Fact Discovery – Final Deadline. All discovery, other than expert discovery, must be
       completed by March 21, 2021.

5.     Status Conference. A status conference will be held on March 22, 2021 at 2:15 p.m.
          Case 1:20-cv-10974-IT Document 9 Filed 08/24/20 Page 2 of 2




6.    Dispositive Motions and Class Certification. A motion for class certification, or
      dispositive motions, such as motions for summary judgment or partial summary judgment
      and motions for judgment on the pleadings, must be filed by April 16, 2021.

7.    Expert Discovery. Deadlines for expert discovery shall be discussed at the post-
      discovery status conference.

                                    Procedural Provisions

8.    Extension of Deadlines. Motions to extend or modify deadlines will be granted only for
      good cause shown. All motions to extend shall contain a brief statement of the reasons for
      the request; a summary of the discovery, if any, that remains to be taken; and a specific
      date when the requesting party expects to complete the additional discovery, join other
      parties, amend the pleadings, or file a motion.

9.    Motions to Compel or Prevent Discovery. Except for good cause shown, motions to
      compel discovery, motions for protective orders, motions to quash, motions to strike
      discovery responses, and similar motions must be filed no later than seven days after the
      close of fact discovery or the close of expert discovery, whichever deadline is relevant. If
      additional discovery is compelled by the court after the relevant deadline has passed, the
      court may enter such additional orders relating to discovery as may be appropriate.

10.   Status Conferences. The court has scheduled a status conference after (or close to) the
      close of fact discovery for case management purposes. Any party who reasonably
      believes that a status conference will assist in the management or resolution of the case
      may request one from the court upon reasonable notice to opposing counsel.

11.   Additional Conferences. Upon request of counsel, or at the court’s own initiative,
      additional case-management or status conferences may be scheduled.

12.   Early Resolution of Issues. The court recognizes that, in some cases, early resolution of
      one or more preliminary issues may remove a significant impediment to settlement or
      otherwise expedite resolution of the case. Counsel are encouraged to confer and jointly
      advise the court of any such issues.

13.   Pretrial Conference. Lead trial counsel are required to attend any pretrial conference.

14.   Discovery Disputes. Counsel encountering a discovery dispute are encouraged to
      request a conference with the court before filing a discovery motion.


                                                    Indira Talwani
                                                    United States District Judge

                                               By: /s/ Danielle Kelly
Date: August 24, 2020                                     Deputy Clerk

                                               2
